Case:18-06747-BKT13 Doc#:21 Filed:02/06/19 Entered:02/06/19 10:54:56   Desc: Main
                           Document Page 1 of 11
Case:18-06747-BKT13 Doc#:21 Filed:02/06/19 Entered:02/06/19 10:54:56   Desc: Main
                           Document Page 2 of 11
Case:18-06747-BKT13 Doc#:21 Filed:02/06/19 Entered:02/06/19 10:54:56   Desc: Main
                           Document Page 3 of 11
Case:18-06747-BKT13 Doc#:21 Filed:02/06/19 Entered:02/06/19 10:54:56   Desc: Main
                           Document Page 4 of 11
Case:18-06747-BKT13 Doc#:21 Filed:02/06/19 Entered:02/06/19 10:54:56   Desc: Main
                           Document Page 5 of 11
Case:18-06747-BKT13 Doc#:21 Filed:02/06/19 Entered:02/06/19 10:54:56   Desc: Main
                           Document Page 6 of 11
Case:18-06747-BKT13 Doc#:21 Filed:02/06/19 Entered:02/06/19 10:54:56   Desc: Main
                           Document Page 7 of 11
Case:18-06747-BKT13 Doc#:21 Filed:02/06/19 Entered:02/06/19 10:54:56   Desc: Main
                           Document Page 8 of 11
Case:18-06747-BKT13 Doc#:21 Filed:02/06/19 Entered:02/06/19 10:54:56   Desc: Main
                           Document Page 9 of 11
Case:18-06747-BKT13 Doc#:21 Filed:02/06/19 Entered:02/06/19 10:54:56   Desc: Main
                          Document Page 10 of 11
Case:18-06747-BKT13 Doc#:21 Filed:02/06/19 Entered:02/06/19 10:54:56   Desc: Main
                          Document Page 11 of 11
